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The Honorable Sarah S. Vance
United States District Court                                                         Kathryn G. Mantoan
Eastern District of Louisiana
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New Orleans, LA 70130

Re:       Cain, et al. v. City of New Orleans, et al.; Case No. 15-cv-4479
          Request for Status Conference

Dear Judge Vance:

Plaintiffs Alana Cain, et al., by and through the undersigned counsel, respectfully request a status
conference in the above-referenced case.

On February 25, 2019, Plaintiffs filed a motion for supplemental relief, accompanied by new evidence that
sheds light on the extent to which Defendants are complying with this Court’s judgment. Doc. 331.
Specifically, Plaintiffs requested that this Court supplement or clarify the existing declaratory judgment to
make clear that it is unconstitutional for any Orleans Parish Criminal District Court debtor to be
imprisoned for willful nonpayment absent both (1) a meaningful inquiry into the debtor’s ability to pay,
preceded by notice of the importance of that issue and including an opportunity for the debtor to be heard
on it, and (2) a finding that the debtor is able to pay. Plaintiffs sought this relief given evidence that
Defendants were not consistently providing the constitutionally required pre-hearing notice, which had the
effect of depriving debtors of the constitutionally required opportunity to be heard prior to imprisonment for
nonpayment. Defendants opposed that motion, and this Court permitted and received Plaintiffs’ reply.
See Docs. 336, 340, 341.1

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1 As Plaintiffs argued in their motion for supplemental relief, this Court retained jurisdiction to issue the
requested relief even during the pendency of Defendants’ appeal. See Doc. 331-1 at 4-5 (citing United
Teacher Assocs. Ins. Co. v. Union Labor Life Ins. Co., 414 F.3d 558, 572 (5th Cir. 2005)). In any event,
the Fifth Circuit’s order affirming this Court’s judgment and the accompanying mandate were filed in this
Court on October 8, 2019 (DE 343), such that there can be no question now as to this Court’s jurisdiction.


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Plaintiffs respectfully request that the Court convene a status conference to set a schedule for
determination of that motion, as well as whether any further discovery into Defendants’ compliance with
this Court’s judgment is appropriate.

Very truly yours,

/s/ Kathryn G. Mantoan

Kathryn G. Mantoan




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                                        CERTIFICATE OF SERVICE

        I hereby certify that on January 30, 2020, a copy of the foregoing document was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all
counsel of record by operation of the court’s electronic filing system.


                                                           /s/ Kathryn G. Mantoan




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